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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
Western

UNITED STATES OF AMERICA,

 

Plaintiff,
vs. Case No. 2:04cr20155-Ml

Jason Chaft`m

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
lt now appears that the defendant has complied With the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $500.00,
payable to Peggy Chaffin at 2322 Poe Avenue, Memphis, TN 381 14 in full refund of the cash

t ((lll@
. d dx
U ted States District Judge

appearance bond posted herein.

 

J n P. McCalla

Date: :5’02 765

 

Approved.

Rob©.fDi Trolio, Clerk of Court
BY; jL/M‘_{JA/W

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Th|s document entered on the docket she?et in compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CR-20155 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

